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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

MELANIE LOGAN,                            )
                                          )
           Plaintiff,                     )
                                          )
      v.                                  )         Case No. 4:18 CV 373 CDP
                                          )
VALVOLINE LLC, d/b/a                      )
Valvoline Instant Oil Change, et al.,     )
                                          )
           Defendants.                    )

            CASE MANAGEMENT ORDER - TRACK 2: STANDARD

      Pursuant to the Civil Justice Reform Act Expense and Delay Reduction Plan

and the Differentiated Case Management Program of the United States District

Court of the Eastern District of Missouri, and the Rule 16 Conference held on May

17, 2018,

      IT IS HEREBY ORDERED that the following schedule shall apply in this

case, and will be modified only upon a showing of exceptional circumstances:

      I.      SCHEDULING PLAN

      1.      This case has been assigned to Track 2 (Standard).

      2.    Any motion for joinder of additional parties or amendment of
pleadings shall be filed no later than July 27, 2018.

      3.      Discovery shall proceed in the following manner:

             (a) The parties shall make all disclosures required by Rule 26(a)(1),
Fed. R. Civ. P., no later than June 22, 2018.
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             (b) Plaintiff shall disclose all expert witnesses and shall provide the
reports required by Rule 26(a)(2), Fed. R. Civ. P., no later than September 14,
2018, and shall make expert witnesses available for depositions, and have
depositions completed, no later than October 26, 2018.

              (c) Defendants shall disclose all expert witnesses and shall provide
the reports required by Rule 26(a)(2), Fed. R. Civ. P., no later than November 16,
2018, and shall make expert witnesses available for depositions, and have
depositions completed, no later than January 18, 2019.

             (d) Any rebuttal experts must be disclosed and shall provide expert
reports by February 22, 2019; they must be available for depositions and have
depositions completed no later than March 29, 2019.

              (e) The presumptive limits of ten (10) depositions per side as set
forth in Rule 30(a)(2)(A), Fed. R. Civ. P., and twenty-five (25) interrogatories per
party as set forth in Rule 33(a), Fed. R. Civ. P., shall apply.

             (f)    The parties will agree on a protocol and date for all parties’
representatives to inspect the engine.

            (g) The parties shall complete all discovery in this case no later
than May 3, 2019.

             (h) Motions to compel shall be pursued in a diligent and timely
manner, but in no event filed more than seven (7) days following the discovery
deadline set out above.

     4.   This case will be referred to alternative dispute resolution effective
December 3, 2018, and that reference shall terminate on February 4, 2019.

      5.     Any motions to dismiss, motions for summary judgment, motions for
judgment on the pleadings, or any motions to limit or exclude expert testimony
must be filed no later than June 7, 2019. Opposition briefs shall be filed no later
than thirty (30) days after the motion or July 8, 2019, whichever is earlier. Any
reply brief may be filed no later than ten (10) days following the response brief or
July 18, 2019, whichever is earlier.




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      II.    ORDER RELATING TO TRIAL

     This action is set for a JURY trial on Tuesday, October 15, 2019, at 8:30
a.m. This is a two week docket.

       Pursuant to Local Rule 8.04 the Court may tax against one or all parties the
per diem, mileage, and other expenses of providing a jury for the parties, when the
case is terminated or settled by the parties at a time too late to cancel the jury
attendance or to use the summoned jurors in another trial, unless good cause for the
delayed termination or settlement is shown.

       In this case, unless otherwise ordered by the Court, the attorneys shall,
not less than twenty (20) days prior to the date set for trial:

      1.     Stipulation: Meet and jointly prepare and file with the Clerk a
JOINT Stipulation of all uncontested facts, which may be read into evidence
subject to any objections of any party set forth in said stipulation (including a brief
summary of the case which may be used on Voir Dire).

      2.     Witnesses:

           (a) Deliver to opposing counsel, and to the Clerk, a list of all
proposed witnesses, identifying those witnesses who will be called to testify and
those who may be called.

            (b) Except for good cause shown, no party will be permitted to call
any witnesses not listed in compliance with this Order.

      3.     Exhibits:

              (a) Mark for identification all exhibits to be offered in evidence at
the trial (Plaintiffs to use Arabic numerals and defendants to use letters, e.g.,
Pltf.-1, Deft.-A, or Pltf. Jones-1, Deft. Smith-A, if there is more than one plaintiff
or defendant), and deliver to opposing counsel and to the Clerk a list of such
exhibits, identifying those that will be introduced into evidence and those that may
be introduced. The list shall clearly indicate for each business record whether the
proponent seeks to authenticate the business record by affidavit or declaration
pursuant to Fed. R. Evid. 902(11) or 902(12).

              (b) Submit said exhibits or true copies thereof, and copies of all
affidavits or declarations pursuant to Fed. R. Evid. 902(11) or 902(12), to opposing
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counsel for examination. Prior to trial, the parties shall stipulate which exhibits
may be introduced without objection or preliminary identification, and shall file
written objections to all other exhibits.

              (c) Except for good cause shown, no party will be permitted to
offer any exhibits not identified or not submitted by said party for examination by
opposing counsel in compliance with this Order. Any objections not made in
writing at least ten (10) days prior to trial may be considered waived.

      4.     Depositions, Interrogatory Answers, and Request for Admissions:

             (a) Deliver to opposing counsel and to the Clerk a list of all
interrogatory answers or parts thereof and depositions or parts thereof (identified
by page and line numbers), and answers to requests for admissions proposed to be
offered in evidence. At least ten (10) days before trial, opposing counsel shall state
in writing any objections to such testimony and shall identify any additional
portions of such depositions not listed by the offering party which opposing
counsel proposes to offer.

             (b) Except for good cause shown, no party will be permitted to
offer any interrogatory answer, or deposition or part thereof, or answer to a request
for admissions not listed in compliance with this Order. Any objections not made
as above required may be considered waived.

      5.     Instructions: Submit to the Court and to opposing counsel their
written request for instructions and forms of verdicts reserving the right to submit
requests for additional or modified instructions at least ten (10) days before trial in
light of opposing party’s requests for instructions. (Each request must be
supported by at least one pertinent citation.)

       6.    Trial Brief: Submit to the Court and opposing counsel a trial brief
stating the legal and factual issues and authorities relied on and discussing any
anticipated substantive or procedural problems.

       7.     Motions In Limine: File all motions in limine to exclude evidence at
least ten (10) days before trial.




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      Failure to comply with any part of this Order may result in the imposition of

sanctions.




                                      CATHERINE D. PERRY
                                      UNITED STATES DISTRICT JUDGE

Dated this 17th day of May, 2018.




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